3018 West Sedgefield Drive
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Greensboro, NC 27407 CHARLOTTE, NC
February 11th, 2022 FEB 14 2022
Judge Kenneth Bell US DISTRICT COURT

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United States District Court ISTRICT OF NC

Western District of North Carolina
7200 Charles R. Jonas Federal Bldg.
401 West Trade Street

Charlotte, NC 28202

Dear Judge Bell,

| am reaching out to you in connection to the upcoming re-sentencing of Robert Michael George for his
conviction of Deprivation of Rights under Color of Law. | regret the event leading to this conviction
occurred and extend my sympathies to the victim. As presiding judge, | understand you are responsible
for imposing a fair and just sentence.

| am a small business owner in High Point, NC and live with my wife and three daughters in
Greensboro. Robert and | have been close friends for almost 23 years. Robert is a college graduate
and maintained a spotless record with the Hickory Police Department for more than 16 years. He
advanced through the ranks of the police department and provided essential skills during his
meritorious tenure. Once charged with the crime of which he has been convicted, Robert was
discharged of his police duties, but he immediately sought and maintained employment until his
conviction in January 2019. When his employer terminated his employment due to the conviction,
Robert stood back up, found another job, and has maintained employment ever since.

Robert is a caring and responsible father to his teenage son Luke, who has been diagnosed with
autistic spectrum disorder. On a personal level, Robert has supported me through the loss of a job and
the stress of starting a company. He is always willing to lend a helping hand, even without asking.

The unfortunate event of which Robert was convicted occurred over 8 years ago. This has resulted in
the obvious loss of a career, a marriage and his pension, not to mention the extended mental stress

and social stigma.

As you know Robert has sucessfully satisfied all probation requirements without fail and paid all
restitution. His records demonstrate retribution was handed down by our Government and the need to
provide deterrence or rehabilitation are not at issue. Sentencing guidlines are just that and our
Department of Justice's neverending effort to needlessly incapaciate an individual who continually
contributes to society is disappointing.

Judge, as you contemplate appropriate re-sentencing in Robert’s conviction, please consider my above
testimonial of his character.

Sinserely, se

. Gary Brewe
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